Case 8:19-cv-00592-JVS-ADS Document 20 Filed 09/23/19 Page 1 of 3 Page ID #:102




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  15     Attorneys for Defendant
         City of Fullerton
  16
  17                         UNITED STATES DISTRICT COURT
  18                        CENTRAL DISTRICT OF CALIFORNIA
  19
  20    ANTONIO FERNANDEZ,                       Case   No.    8:19-CV-00592-JVS-
                                                 ADS
  21           Plaintiff,
                                                 Joint Notice of Settlement and
  22      v.                                     Request to Vacate All Currently
  23                                             Calendared Dates
        CITY OF FULLERTON; and Does 1-
  24    10,                                      [Proposed] Order filed concurrently
                                                 herewith
  25           Defendants.
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       Joint Notice of Settlement and Request to Vacate All Currently Calendared Dates
Case 8:19-cv-00592-JVS-ADS Document 20 Filed 09/23/19 Page 2 of 3 Page ID #:103




   1         TO THE HONORABLE COURT:
   2         PLEASE TAKE NOTICE that the Parties have reached a settlement in
   3   this matter.    The Parties are in the process of preparing settlement
   4   documents and will file a Stipulation of Dismissal as soon as the settlement
   5   agreement has been executed and the payment term fulfilled. The Parties
   6   therefore, apply to this Honorable Court to vacate all currently set dates with
   7   the expectation that the Joint Stipulation for Dismissal with prejudice as to all
   8   parties will be filed within 90 days.
   9
       Dated: September 22, 2019         CENTER FOR DISABILITY ACCESS
  10
  11
                                         By: /s/ Amanda Lockhart Seabock
  12
                                                Amanda Lockhart Seabock
  13                                            Attorneys for Plaintiff
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  15
       Dated: September 22, 2019         JONES & MAYER
  16
  17
                                         By: /s/ Bruce A. Lindsay
  18
                                               Bruce A. Lindsay
  19                                           Attorney for Defendant
                                               City of Fullerton
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       Joint Notice of Settlement and Request to Vacate All Currently Calendared Dates
Case 8:19-cv-00592-JVS-ADS Document 20 Filed 09/23/19 Page 3 of 3 Page ID #:104




   1
                             SIGNATURE CERTIFICATION
   2
   3
   4   I hereby certify that the content of this document is acceptable to Bruce A.
   5   Lindsay, counsel for City of Fullerton, and that I have obtained authorization
   6   to affix his electronic signature to this document.
   7
   8   Dated: September 22, 2019        CENTER FOR DISABILITY ACCESS
   9
                                        By: /s/ Amanda Lockhart Seabock
  10                                           Amanda Lockhart Seabock
                                               Attorneys for Plaintiff
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       Joint Notice of Settlement and Request to Vacate All Currently Calendared Dates
